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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re                                      :   Chapter 13

NAGENA EDMOND                               :

                            Debtor.         :   Case No. 20-14565-AMC

                                       ORDER


         AND NOW, After notice and the Show Cause Hearing to consider

 whether the Debtor’s case should be dismissed and the Debtor should be

 barred from filing future bankruptcy cases held on May 4, 2021 at which

 the debtor failed to appear and for reasons stated in open court,

 it is hereby

         ORDERED that this chapter 13 case is Dismissed based on a

record of bad faith, and it is

         FURTHER ORDERED that the Debtor shall be prohibited from filing

future bankruptcy cases for a period of 365 days from the date of the

dismissal order of this case, either individually or jointly, without first seeking

court approval.




    Dated: May 4, 2021                          Honorable Ashely M. Chan
                                                United States Bankruptcy Judge
